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 1                                                                           Hon. Ricardo S. Martinez

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 8                                 UNITED STATES DISTRICT COURT
 9                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10

11   UNITED STATES OF AMERICA,                       )
                                                     )
12                  Plaintiff,                       ) NO. CR 06-0174 RSM
                                                     )
13          vs.                                      ) ORDER TO CONTINUE PRE-TRIAL
                                                     ) MOTIONS DEADLINE.
14   SUNG CHUL LEE                                   )
                                                     )
15                  Defendant.                       )
                                                     )
16                                                   )
                                                     )
17

18                                      ORDER OF THE COURT
19          This matter having come before the court on the Defendant’s Motion to Continue the Pre-
20   Trial Motions Deadline from June 22, 2006 to August 17, 2006, and a Motion to Continue the
21
     Trial date from July 31st 2006 to September 25, 2006, and the court having considered the
22
     arguments made by all parties, together with the balance of the records and files herein, This
23
     Court now finds as follows:
24

25
     [PROPOSED] ORDER OF THE COURT - 1                                 Jesse Cantor,# 26736
                                                                      RIOS CANTOR, P.S.
                                                                     ATTORNEYS AT LAW
                                                                   811 FIRST AVE, SUITE 200
                                                                      SEATTLE, WA 98104
                                                                          (206) 749-5600
             Case 2:06-cr-00174-RSM           Document 48        Filed 07/05/06      Page 2 of 3



 1          That this Motion is the first motion to continue the pre-trial motions deadline and trial

 2   date filed by any party;
 3
            That the Government has distributed voluminous discovery to the defense that pertains to
 4
     the instant case as well as a related case, thereby requiring additional time for effective defense
 5
     preparation;
 6
            That extra time is needed for the defendant to review discovery with counsel through the
 7
     assistance of a foreign language interpreter;
 8
            That the defendant understands his rights to a Speedy Trial pursuant to 18 U.S.C. Section
 9
     3161 and has executed a speedy trial waiver through September 30th 2006;
10

11          That no party, including the United States, opposes a Motion to Continue the pre-trial

12   motions deadline and the trial date. [However the Government is not in agreement with a

13   proposed pre-trial motions deadline of August 17, 2006. Instead, the Government is proposing a

14   deadline of July 17, 2006, due to the Government’s unavailability in August of 2006. The
15   defense for Mr. Lee asserts that a July 17, 2006, pre-trial motions deadline will not afford
16
     sufficient time to adequately prepare the anticipated pre-trial motions. However, defense counsel
17
     has indicated no objection to extending the response deadline for the Government to
18
     accommodate the Government’s unavailability in August of 2006];
19
            That this period of delay is reasonable; that the defendants are joined for trial; that the
20
     time for trial has not run; and that no motion for severance has yet been granted. 18 U.S.C.
21
     Section 3161(h)(7);
22

23
            The Court finds that taking into account the complexity of the case and the exercise of

24   due diligence, that the failure to grant the continuance would deny the defense the reasonable

25   time for effective trial preparation;
     [PROPOSED] ORDER OF THE COURT - 2                                   Jesse Cantor,# 26736
                                                                        RIOS CANTOR, P.S.
                                                                       ATTORNEYS AT LAW
                                                                     811 FIRST AVE, SUITE 200
                                                                        SEATTLE, WA 98104
                                                                            (206) 749-5600
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 1           Accordingly, This Court finds that the ends of justice served by granting the requested

 2   continuance outweigh the best interests of the public and defendants in a speedy trial; 18 U.S.C.
 3
     Section 3161(h)(8)(A) and Section 3161(h)(8)(B)(iv).
 4
               The new proposed dates of [August 17th , 2006], for the motions cut-off deadline, and
 5
     [September 25th, 2006], for the trial date, do not appear to prejudice any party, including the
 6
     Government.
 7
             Accordingly, IT IS HEREBY ORDERED THAT:
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             The Pre-Trial Motions Cut-Off date shall be extended to August 17th , 2006, with the trial
 9
     date of September 25th, 2006.
10

11           It is further ordered that the period of delay resulting from this continuance is excludable

12   pursuant to 18 U.S.C. Section 3161(h)(8)(A) and (B) as to each co-defendant.

13

14           SO ORDERED ON THIS 5th DAY OF July, 2006
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17
                                                   RICARDO S. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
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21
     Presented by:
22
     s/ Jesse Cantor______
23   Jesse Cantor
     Attorney for the Defendant.
24

25
     [PROPOSED] ORDER OF THE COURT - 3                                  Jesse Cantor,# 26736
                                                                       RIOS CANTOR, P.S.
                                                                      ATTORNEYS AT LAW
                                                                    811 FIRST AVE, SUITE 200
                                                                       SEATTLE, WA 98104
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